
689 S.E.2d 141 (2009)
STATE of North Carolina
v.
Michael Harrison HUNT, Jr.
No. 370P09.
Supreme Court of North Carolina.
December 10, 2009.
Geoffrey W. Hosford, Wilmington, for Defendant Michael Harrison Hunt, Jr.
Steven M. Arbogast, Special Deputy Atty. Gen., for State of NC.
Prior report: ___ N.C.App. ___, 680 S.E.2d 720.

ORDER
Upon consideration of the petition filed on the 7th of September 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of December 2009."
